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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION

                                     )
UNITED STATES OF AMERICA,            )
                                     )
      Plaintiff,                     )
                                     )
v.                                   )    No. 17-CR-20002-10
                                     )
                                     )
                                     )
                                     )
DAMEIN PACK,                         )
                                     )
      Defendant.                     )
                                     )
                                     )


                                 ORDER


     Before the Court is Defendant Damein Pack’s pro se motion

for compassionate release under 18 U.S.C. § 3582(c)(1)(A) (the

“Motion”), filed on May 29, 2020.        (ECF No. 765.)   The government

responded on August 27, 2020.      (ECF No. 783.)    For the following

reasons, the Motion is DENIED.

I.   BACKGROUND

     In March 2017, Pack was indicted for various crimes arising

from his participation in a drug trafficking organization.           (See

generally ECF No. 28.)     In October 2018, Pack pled guilty to two

counts of a Superseding Indictment.           (ECF Nos. 467-69.)       In

February 2019, the Court sentenced Pack to 51 months in prison

on each count, to be served concurrently, followed by a three-
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year term of supervised release.            (ECF Nos. 580-82.)           Pack’s

anticipated release date is October 20, 2021. See Federal Bureau

of       Prisons    Inmate       Locator,         “Damein       Pack,”      at

https://www.bop.gov/inmateloc/          (last    accessed   September       21,

2020).

      On   April   20,   2020,   Pack    filed    his   first    motion    for

compassionate release.       (ECF No. 761.)      On May 5, 2020, the Court

denied that motion because Pack failed to demonstrate that he

exhausted his administrative remedies.             (ECF No. 764.)

      Pack renewed his request for compassionate release by filing

the Motion on May 29, 2020.       (ECF No. 765.)        He asserts that he

has exhausted his administrative remedies. (Id.) The government

responded on August 27, 2020.           (ECF No. 783.)      The government

argues that Pack has not exhausted his administrative remedies

and that he has not demonstrated any extraordinary and compelling

reason for compassionate release.         (Id.)

II.   STANDARD OF REVIEW

      A sentencing court does not have inherent authority to

modify an otherwise valid sentence. United States v. Washington,

584 F.3d 693, 700 (6th Cir. 2009).          The authority to resentence

a defendant is limited by statute.              United States v. Houston,

529 F.3d 743, 748-49 (6th Cir. 2008) (citing United States v.

Ross, 245 F.3d 577, 585 (6th Cir. 2001)).



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     Eighteen U.S.C. § 3582(c)(1)(A) allows a court to modify a

term of imprisonment where “extraordinary and compelling reasons

warrant [modification].”        Motions under that section have been

called “motions for compassionate release.”             United States v.

McCann, No. 13-cr-52, 2020 WL 1901089, at *1 (E.D. Ky. Apr. 17,

2020). “The compassionate release provisions were . . . intended

to be a ‘safety valve’ to reduce a sentence in the ‘unusual case

in which the defendant’s circumstances are so changed, such as

by terminal illness, that it would be inequitable to continue

the confinement of the prisoner.’”       United States v. Ebbers, 432

F. Supp. 3d 421, 430 (S.D.N.Y. 2020) (citing S. Rep. 98-225, at

121 (1983)).

     In the First Step Act of 2018 (the “First Step Act”), Pub

L. No. 115-391, 132 Stat. 5194, 5239, Congress amended 18 U.S.C.

§ 3582(c)(1)(A)    to   allow   a   prisoner   to    file   a   motion   for

compassionate release.     Before the First Step Act, a motion for

compassionate release could be brought only by the Director of

the BOP.   United States v. York, Nos. 3:11-cr-76, 3:12-cr-145,

2019 WL 3241166, at *4 (E.D. Tenn. July 18, 2019) (citing 18

U.S.C. § 3582(c)(1)(A) (2017)).         The First Step Act modified

§ 3582(c)(1)(A) with the intent of “increasing the use and

transparency of compassionate release.”             Pub. L. No. 115-391,

132 Stat. 5194, 5239 (capitalization omitted); see also Ebbers,

432 F. Supp. 3d at 430.

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      Section 3582(c)(1)(A) now provides that:

      [T]he court, upon motion of the Director of the Bureau
      of Prisons, or upon motion of the defendant after the
      defendant has fully exhausted all administrative
      rights to appeal a failure of the Bureau of Prisons to
      bring a motion on the defendant’s behalf or the lapse
      of 30 days from the receipt of such a request by the
      warden of the defendant’s facility, whichever is
      earlier, may reduce the term of imprisonment . . .
      after considering the factors set forth in section
      3553(a) to the extent that they are applicable, if it
      finds that —-

      (i) extraordinary and compelling reasons warrant such
      a reduction . . .

      and that such a reduction is consistent with applicable
      policy statements issued by the Sentencing Commission
      . . . .

      Congress directed the United States Sentencing Commission,

“in   promulgating        general      policy   statements     regarding      the

sentencing modification provisions in section 3582(c)(1)(A) of

title 18, [to] describe what should be considered extraordinary

and compelling reasons for sentence reduction, including the

criteria to be applied and a list of specific examples.”                       28

U.S.C. § 994(t); see also 28 U.S.C. § 994(a)(2)(C).                     In the

United   States    Sentencing          Commission   Guidelines     Manual   (the

“U.S.S.G.”), the Sentencing Commission has published a policy

statement addressing the standards for compassionate release.

See U.S.S.G. § 1B1.13 (the “Policy Statement”).                     The Policy

Statement   reiterates          that    a   court   may   reduce   a   term    of

imprisonment      under     §    3582(c)(1)(A)      if    “extraordinary      and

compelling reasons warrant the reduction” and “after considering
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the factors set forth in 18 U.S.C. § 3553(a), to the extent that

they are applicable.”         Id.     The Policy Statement also directs

courts to determine that “the defendant is not a danger to the

safety of any other person or to the community,” before reducing

a term of imprisonment under § 3582(c)(1)(A).               Id.

     The   commentary    to    the    Policy    Statement    describes     four

categories of “extraordinary and compelling reasons” that may

justify compassionate release under § 3582(c)(1)(A): (A) the

medical condition of the defendant; (B) the age of the defendant;

(C) family circumstances; and (D) other reasons. See U.S.S.G. §

1B1.13, cmt. n.1(A)-(D).            The “other reasons” category allows

compassionate release if, “[a]s determined by the Director of

the Bureau of Prisons, there exists in the defendant’s case an

extraordinary and compelling reason other than, or in combination

with, the reasons described in subdivisions (A) through (C).”

Id. cmt. n.1(D).

     Section    3582(c)(1)(A)        requires    a    defendant   to    exhaust

available administrative remedies with the BOP before seeking

judicial relief.      See United States v. Alam, 960 F.3d 831, 832-

34 (6th Cir. 2020).      A defendant may exhaust the administrative

remedies   in   one     of    two     ways:     (1)    by   exhausting     “all

administrative rights to appeal a failure of the [BOP] to bring

a motion on the defendant’s behalf,” or (2) on “the lapse of 30

days from the receipt of such a request by the warden of the

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defendant’s      facility,   whichever       is   earlier.”         18    U.S.C.    §

3582(c)(1)(A).      The defendant bears the burden of showing he has

exhausted     his   administrative      remedies     and      is    entitled       to

compassionate release.        See Ebbers, 432 F. Supp. 3d at 426-27

(citing United States v. Butler, 970 F.2d 1017, 1026 (2d Cir.

1992)).     Section 3582(c)(1)(A)’s exhaustion requirement is a

mandatory claim-processing rule that is subject to waiver and

forfeiture.      See Alam, 960 F.3d at 834 (citing United States v.

Cotton, 535 U.S. 625, 630 (2002)).

III. ANALYSIS

     A. Exhaustion of Administrative Remedies

     Pack has not shown that he exhausted his administrative

remedies.     The only evidence he presents is a request to the

legal mail officer for documentation of his request to the

warden.     (ECF No. 765-1.)       He maintains he never received a

response    to    his   request   for       documentation     and    so    has     no

documentation to prove that he submitted a request to the warden.

(Id.)     Pack has failed to meet his burden of proving he has

exhausted his administrative remedies.             See Ebbers, 432 F. Supp.

3d at 426-27.

     Even assuming the request for documentation is evidence

that Pack submitted a request to the warden, the Motion still

fails on the merits.

     B. Extraordinary and Compelling Reasons

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      Pack   has    failed    to   demonstrate    any    extraordinary     and

compelling reason for compassionate release.               As the government

points out, Pack does not assert that he has any underlying

medical conditions that would make him at higher risk of a bad

outcome were he to contract COVID-19.            (ECF No. 783.)

      Risk of contracting COVID-19 by itself does not justify

compassionate release.        United States v. Raia, 954 F.3d 594, 597

(3rd Cir. 2020) (“[T]he mere existence of COVID-19 in society

and the possibility that it may spread to a particular prison

alone cannot independently justify compassionate release . . .

.”); United States v. Bolze, --- F. Supp. 3d ---, at *7 (E.D.

Tenn.     2020)    (“[T]he    COVID-19     pandemic     cannot   present    an

extraordinary and compelling reason alone because the policy

statement directs courts to consider individual reasons for

compassionate      release,    not    general    threats    to   the   prison

population.”).      Compassionate release is not appropriate on this

record.

IV.   CONCLUSION

      For the foregoing reasons, the Motion is DENIED.



      So ordered this _22nd_ day of September, 2020.



                                       /s/ Samuel H. Mays, Jr.
                                     SAMUEL H. MAYS, Jr.
                                     UNITED STATES DISTRICT JUDGE

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